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   13
                           UNITED STATES DISTRICT COURT
   14
                         CENTRAL DISTRICT OF CALIFORNIA
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   17   IN RE ETHEREUMMAX INVESTOR
        LITIGATION                                Lead Case No. CV 22-163-MWF (SKx)
   18
        This Document Relates To:                 ORDER GRANTING
   19                                             STIPULATION TO EXTEND TIME
             ALL ACTIONS                          TO RESPOND TO
   20                                             CONSOLIDATED CLASS ACTION
                                                  COMPLAINT
   21
                                                  Current response date: June 2, 2022
   22                                             New response date: July 7, 2022
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         ORDER GRANTING STIPULATION                              Case No. CV 22-163-MWF (SKx)
         TO EXTEND TIME TO RESPOND TO
         CONS. COMPL.
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    1         Presently before the Court is a Stipulation to Extend Time to Respond to
    2   Consolidated Class Action Complaint (the “Stipulation”). Having considered the
    3   Stipulation, and for GOOD CAUSE shown, the Court hereby rules as follows:
    4         IT IS HEREBY ORDERED that the deadline for Defendants to answer or
    5 respond to the Consolidated Complaint, and any related briefing, is extended as

    6 follows:

    7         1.    Defendants shall serve and file any answer or response to the
    8 Consolidated Complaint by July 15, 2022.

    9         2.    Should Defendants move to dismiss the Consolidated Complaint
   10 pursuant to Rule 12 of the Federal Rules of Civil Procedure, Plaintiffs shall serve

   11 and file any opposition within 30 days after service of the Rule 12 motion.

   12         3.    Defendants shall serve and file any reply to Plaintiffs’ opposition
   13 within 21 days after service of the opposition.

   14         IT IS SO ORDERED.
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        Dated: May 31, 2022                   __________________________________
                                              MICHAEL W. FITZGERALD
   17                                         United States District Judge
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   28                                                              Case No. CV 22-163-MWF (SKx)
         ORDER GRANTING STIPULATION              2
         TO EXTEND TIME TO RESPOND TO
         CONS. COMPL.
